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                    Exhibit 6
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


 MODERNATX, INC. and MODERNA US, INC.,

                                Plaintiffs,
                           v.                                 Case No. 1:22-cv-11378-RGS

 PFIZER INC., BIONTECH SE, BIONTECH
 MANUFACTURING GMBH, and BIONTECH
 US INC.,
                                Defendants.


            DEFENDANT PFIZER INC.’S FIRST SET OF INTERROGATORIES

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, and the applicable

Local Rules of the United States District Court for the District of Massachusetts, Defendant

Pfizer Inc. (“Pfizer”) hereby requests that Plaintiffs ModernaTX, Inc. and Moderna US, Inc.

(collectively, “Plaintiffs”) answer the following interrogatories.

       Unless otherwise agreed upon by counsel for the respective parties, service of the

requested answers is to be made at the offices of Williams & Connolly LLP, at 680 Maine

Avenue, S.W. Washington, DC 20024, within thirty (30) days of service of this Interrogatory.

                                          DEFINITIONS

       1.        Pfizer hereby incorporates by reference the Definitions set forth in Defendants’

First Set of Requests for the Production of Documents and Things, dated February 3, 2023.

       2.        As used herein, the term “Comirnaty®” shall mean any mRNA COVID-19

vaccine developed and sold by Pfizer/BioNTech, regardless of whether such vaccine bore the trade

name Comirnaty® at the time it was sold or whether it was sold pursuant to an emergency use

authorization or approval by the Food and Drug Administration.

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       3.         As used herein, the term “Spikevax®” shall mean any mRNA COVID-19 vaccine

developed and sold by Moderna, regardless of whether such vaccine bore the trade name

Spikevax® at the time it was sold or whether it was sold pursuant to an emergency use

authorization or approval by the Food and Drug Administration.

                                         INSTRUCTIONS

       1.         Plaintiffs must answer each Interrogatory separately and fully in accordance with

Federal Rule of Civil Procedure 33. If Plaintiffs object to any interrogatory, they must state their

objections with specificity and answer the interrogatory subject to their objections.

       2.         These Interrogatories are continuing and require Plaintiffs to supplement their

responses in accordance with Federal Rule of Civil Procedure 26(e). Such supplemental responses

are to be served as soon as reasonably possible after the need therefor is determined.

       3.         If, in answering any of these Interrogatories, Plaintiffs perceive any ambiguity in

construing either the interrogatory or a definition or instruction, Plaintiffs must set forth the matter

deemed ambiguous and the definition used in answering the interrogatory.

       4.         When an interrogatory does not specifically request a particular fact, but when

such fact(s) are necessary to make the answer to the interrogatory comprehensible, complete, or

not misleading, Plaintiffs must include such fact(s) as part of the answer.

       5.         In answering these Interrogatories, if Plaintiffs make any assumption of fact or

law, Plaintiffs must state each assumption and the basis for such assumption.

       6.         Each interrogatory must be answered on the basis of Plaintiffs’ entire knowledge,

from all sources, after an appropriate and good-faith inquiry has been made and a reasonable search

has been conducted.

       7.         If Plaintiffs have a good-faith objection to any interrogatory, or any part thereof,
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the specific nature of the objection and whether it applies to the entire interrogatory or to part of

the interrogatory must be stated. If there is an objection to any part of an interrogatory, then the

part objected to should be identified and a response to the remaining unobjectionable part should

be provided.

       8.         Whenever an answer to these Interrogatories contains information that is not

based on personal knowledge, Plaintiffs must state the source and the nature of such information.

       9.         If Plaintiffs withhold any information, in whole or in part, on the grounds of

attorney-client privilege, work-product immunity, or any other privilege or doctrine, Plaintiffs

must identify the information withheld in a privilege log.

       10.        If Plaintiffs elect to utilize the procedure for answering interrogatories authorized

by Federal Rule of Civil Procedure 33(d), Plaintiffs must, for each interrogatory so answered,

specify the particular documents relating to the subject matter of the specific interrogatory and,

separately for each document, specify its source (e.g., the custodian from whom files were obtained

or other location from which it was taken) and its author and date of preparation, if not apparent

from the face of the document.

       11.        No part of an interrogatory should be left unanswered merely because an

objection is made to another part of the interrogatory. If a partial or incomplete answer is provided,

Plaintiffs must state the answer is partial or incomplete.

       12.        If this action proceeds to trial, Pfizer reserves all rights to exclude as evidence

the introduction of any information that Plaintiffs had in their possession and was called for by

these Interrogatories, but that Plaintiffs did not produce.




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                                      INTERROGATORIES

INTERROGATORY NO. 1

       Identify the person(s) most knowledgeable about and documents sufficient to show, for

Spikevax® and any other product as to which Moderna claims any lost profits, from launch until

the present: actual and projected donations, unit sales, revenue, profit, profit margin, cost of goods

sold, and income (both gross and net); amounts spent on research and development, product

advertising and promotion, packaging, regulatory efforts, and manufacturing; and market share

analyses, consumer preference surveys, and documents comparing Comirnaty® and Spikevax®.


INTERROGATORY NO. 2

       Identify person(s) most knowledgeable about and documents sufficient to show, for

Spikevax® and any other product as to which Moderna claims any lost profits, from launch until

present: Moderna’s manufacturing capacity, its production, its distribution and supply chain to the

market, and its utilization. For avoidance of doubt, this includes: (a) an identification of facilities

at which Spikevax® and any other product as to which Moderna claims any lost profits has been

manufactured or will be manufactured prior to trial, including any manufacturing contracts from

the launch of such products, and restrictions on where products manufactured there can be sold;

(b) annual, quarterly, and monthly manufacturing and distribution capacity, production, and

utilization from product launch to the present, including any discussions of inability to meet

demand for Spikevax®; and (c) projections of future manufacturing and distribution capacity,

production, and utilization.




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INTERROGATORY NO. 3

       For each of the Patents-in-Suit, describe in detail, together with the identity of any

supporting documents or things, the factual basis for Moderna’s allegation that if Pfizer and

BioNTech have infringed the Patents-in-Suit, such infringement was willful.

INTERROGATORY NO. 4

       Identify and describe all interactions between Moderna and Pfizer regarding Moderna’s

business or work on mRNA, including any meeting(s) occurring in 2012-2013, a Confidential

Disclosure Agreement between the parties in 2016, a Confidential Disclosure Agreement between

the parties in 2017, any meetings between the parties related to those agreements, and any

documents shared by Moderna or Pfizer related to the parties’ interactions, the individuals at

Moderna involved in interactions between Moderna and Pfizer, and any internal analyses of

documents shared by Pfizer or interactions between Moderna and Pfizer.




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Dated: October 18, 2023

                                          /s/ Kathryn S. Kayali

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